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U NITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


I n re:
                                             : Case No. 17-22218(RDD)
RS OLD MILL, LLC,
                                             : Chapter 11
                       Debtor.



RS OLD MILL, LLC,
                                               Adversary No. 19-8243(RDD)
                       Plaintiff,
                                               DECLARATION OF DAVID
                - against -                    FLEISCHMANN IN SUPPORT OF
                                               EMERGENCY MOTION BY SUFFERN
SUFFERN PARTNERS LLC,                          PARTNERS LLC TO APPROVE SALE
BRIDGEWATER CAPITAL PARTNERS                   OF SUBSTANTIALLY ALL OF
LLC, ISAAC GENUTH, MARK YUNGER                 DEBTOR'S ASSETS TO SUFFERN,
a/k/a"MARK JUN GER," GOLDIE                    NUNC PRO TUNC, AND FOR OTHER
REISMAN, MOSES REICHMAN, RS OLD                RELATED RELIEF
M ILLS RD LLC., DAVID
FLEISCHMANN,THOMAS
LANDRIGAN, and CPIF LENDING, LLC,

                        Defendants.


          DAVID FLEISCHMANN, pursuant to 28 U.S.C. § 1746, hereby declares that the

following is true and correct:
       1.      I am an attorney licensed to practice in the State of New York and former real

estate counsel to Suffern Partners LLC ("Suffern"), a party-in-interest in the above Chapter

11 proceeding involving RS Old Mill, LLC ("Debtor") (the "Chapter 11 Case") and a

defendant in the Debtor's proposed adversary proceeding (the "Adversary Proceeding").

As such, I am fully familiar with the facts set forth below, which are true to the best of my

personal knowledge or based upon the documents I have reviewed in connection with this

matter. I am authorized by Suffern to provide this Declaration.

       2.      I respectfully submit this Declaration in support of Suffern's motion

(a)approving the sale of substantially all of the assets of Debtor to Suffern, nunc pro tunc, to

September 1, 2017,(b) dismissing the Chapter 11 Case and (c) dismissal and/or abstention

as to all claims asserted in Debtor's proposed Adversary Proceeding Complaint.

        3.     I previously represented Suffern in connection with its purchase in about

September of 2017, of approximately 162 acres of land and a 585,000-square-foot

 pharmaceutical manufacturing facility in Rockland County, New York(the "Premises").

        4.     I understand that Debtor had initiated the Chapter 11 Case in order to protect

 itself from the risk of losing its right pursuant to an agreement (the "Sale Agreement"),

 dated as of November 28, 2016, under which Debtor agreed to pay Novartis Corporation

("Novartis") $18 million for the Premises. Debtor assumed the Sale Agreement, and the

 Court ultimately ordered that the closing on Debtor's purchase of the Premises take place

 on or before August 17, 2017.

        5.     However, Debtor apparently was unable to close on financing for the amount

 due and owing to Novartis on the Premises before the Court's deadline. Pursuant to the




                                                2
Sale Agreement, at the time Debtor owed Novartis approximately $15.5 million,

representing the balance of the purchase price and other closing and administrative costs.

       6.    Accordingly, Suffern offered to secure and provide funding for Debtor's

purchase of the Premises and, in the process, buy it from Debtor for $30 million. Debtor

agreed. Under the deal that Debtor structured and given certain limitations imposed by the

Sale Agreement, Debtor structured a deal whereby it was to convey the Premises to a

third party entity, RS Old Mills Rd, LLC ("Old Mills Rd"), which would then immediately re-

convey the Premises to Suffern. The multi-transaction structure reflected an arm's-length,

negotiated deal for significant consideration, and was structured by Debtor to ensure it

could meet the requirements of the Sale Agreement.

       7.    Suffern negotiated and obtained a $33 million loan from CPIF Lending, LLC

("CPIF")for its acquisition of the Premises. True and correct copies of the promissory note

and mortgage between Suffern and CPIF are attached hereto as Exhibits A and B,

respectively. I acted as Suffern's real estate counsel in connection with its procurement of

the loan from CPIF, which continued to be represented by Cassin & Cassin LLP. CPIF's

loan to Suffern was heavily documented and, like Debtor's agreement to sell the Premises

to Suffern, was negotiated at arm's length. A true and correct copy of my post-closing

correspondence with counsel for CPIF, enclosing and describing more than 30 loan

documents executed in connection with CPIF's loan to Suffern, is attached hereto as

Exhibit C. In addition, both CPIF and Suffern sought and obtained title insurance on the

Premises in the amount of $33 million and $30 million, respectively.

       8.     CPIF and Suffern also selected an escrow agent, Riverside Abstract, LLC

("Riverside"),for Suffern's purchase of the Premises. On September 1, 2017, CPIF, Suffern,



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and Riverside executed an escrow agreement(the "Escrow Agreement") in advance of the

closing on CPIF's loan to Suffern. A true and correct copy of the Escrow Agreement and

the accompanying closing statement are attached hereto as Exhibits D and E, respectively.

In the Escrow Agreement, CPIF represented that it had deposited $33 million in escrow with

Riverside for disbursement pursuant to the instructions laid out therein. See id. Under those

instructions, Riverside was to distribute the balance due and owing under the Sale

Agreement ($15,940,324.51) to Novartis through its escrow agent, Commonwealth Land

Title Insurance Company, and $13,763,840.88 to Debtor's real estate counsel, Cohen,

LaBarbera & Landrigan, LLP, for the $12 million balance due to Debtor for Suffern's

purchase of the Premises and other administrative costs.

       9.     With the funding in place Debtor and Novartis closed on the Premises on

September 6, 2017. Novartis had previously executed a deed to the Premises in Debtor's

favor on September 1, 2017, and, in accordance with the parties' earlier agreement, Debtor,

through its managing member, executed a deed for the Premises to Old Mills Rd, which

 immediately conveyed the property to Suffern. True and correct copies of these deeds are

 attached hereto as Exhibits F, G,and H, respectively. Thereafter, at Debtor's instruction and

 pursuant to the terms of the Escrow Agreement, I understand that more than $12 million

 was distributed to Debtors' real estate counsel, Cohen, LaBarbera & Landrigan, LLP.

       10.    The closing on CPIF's loan to finance Suffern's — and Debtor's — purchase

 of the Premises took place under significant time pressures. I understand that Novartis

 had declared Debtor in default under the Sale Agreement for failing to close by the Court's

 August 17, 2017 deadline and Debtor risked losing its $2.5 million security deposit on —

 and its entire right to buy — the Premises. Moreover, the transaction involved a significant



                                              4
commercial loan that needed to bg and was, properly negotiated, documented, and

reviewed by counsel.

       11.    I declare under penalty of perjury that the foregoing is true and accurate to

the best of my knowledge, information, and belief.

DATED:        New York, New York
              A pril 18, 2019


                                                     /DAVID FLE1SCHMANN




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EXHIBIT A
EXHIBIT B
EXHIBIT C
EXHIBIT D
EXHIBIT E
                                                                               Closing Statement

PREMISES                                               25 Old Mill Rd, 19 Hemion Rd, Route 59, 200 N 14 St, 4-6 Berry St NY      CLOSING LOCATION:       Via escrow
PURCHASER                                              Suffern Partners LLC                                                      CLOSING DATE:           9/6/2017
PURCHASER'S ATTORNEY                                   Law Offices of David Fleischmann, PC                                      CLOSING TIME:           n/a
SELLER                                                 RS Old Mill LLC                                                           TITLE COMPANY:          Riverside
SELLER'S ATTORNEY                                      Cohen, LaBarbera & Landrigan LLP                                          NEW LENDER              CPIF LENDING, LLC & W Financial Fund, LP
                                                                                                                                 NEW LENDERS ATTORNEY    Cohen, LaBarbera & Landrigan LLP

CREDITS DUE SELLER:
Purchase Price                                          $                                 30,000,000.00
Total Due Seller                                        $                                 30,000,000.00

BALANCE DUE SELLER                                      $                                 30,000,000.00

BALANCE PAID AS FOLLOWS:
Commonwealth Land Title-Seller                          $                                (15,940,321.51) *wire should have been $3 more
Cohen, LaBarbera & Landrigan LLP-Seller                 $                                (13,763,840.88)
Watermark Associates                                    $                                    (48,285.89)
Riverside Abstract-seller bill                          $                                   (149,298.72)
Riverside Abstract-seller bill                          $                                    (97,500.00)
Alan Hirsch-seller title closer                         $                                       (750.00)
                                                        $                                (29,999,997.00)


                                                   The Transaction:
Loan Amount                                                                              $33,000,000.00

                                  LOAN AMOUNT DISBURSED AS FOLLOWS:
Lender Origination Fee                                 $                                     660,000.00
Reserve TILC                                           $                                   2,500,000.00
Reserve Capital Expenditure                            $                                   1,000,000.00
Reserve Real Estate Taxes                              $                                     375,000.00
Reserve Interest                                       $                                   2,487,833.33
Stub Interest                                          $                                     262,166.67
Lender Due Diligence Expense                           $                                      11,000.00
Borrower Deposit                                       $                                     (95,000.00)
Interest Reserve taken in error                        $                                     262,166.67
Net Loan Amount wired to Riverside                      $                                 25,536,833.33
                                                        $                                 33,000,000.00

Purchasers Expenses:
TD Bank                                                 $                                  4,858,054.29
Riverside Abstract                                      $                                  1,298,578.20    (=title bill-56,250 credit +recording fees)
Key Bank, National Association                          $                                        750.00
Legal Fee -David Fleischmann                            $                                     40,000.00
Legal Fee-Reiss Sheppe LLP                              $                                     48,500.00
Watermark Associates                                    $                                    281,714.11
IM Insurance Brokerage Inc                              $                                    687,838.21
Casssin & Cassin                                        $                                    125,000.00
Law Office Of Shaul C. Greenwald, Esq.                  $                                     25,000.00
Entity Fees                                             $                                      4,000.00
Title Closer-Eli Basch                                  $                                        400.00
Vcorp Services, LLC                                     $                                        390.00
Cullen and Dykman (attorney for TD Bank)                $                                      4,600.00
Bridgewater Capital Partners LLC                        $                                    126,250.00
Total Expenses                                          $                                  7,501,074.81
EXHIBIT F
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EXHIBIT H
